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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION



                                                    Master Case No.
IN RE GEORGIA SENATE BILL 202
                                                    1:21-MI-55555-JPB

UNITED STATES OF AMERICA,

                Plaintiff,

                 v.

THE STATE OF GEORGIA; et al.,                       Civil Action No.
                                                    1:21-CV-2575-JPB
                Defendants,

THE REPUBLICAN NATIONAL COMMITTEE; et
al.,

                Intervenor-Defendants.




       CERTIFICATE OF SERVICE FOR UNITED STATES’
   SUBPOENA FOR DOCUMENTS TO ORRICK HERRINGTON &
                    SUTCLIFFE LLP
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                          CERTIFICATE OF SERVICE

      Pursuant to LR 5.4(A), NDGa., I hereby certify that (1) on May 6, 2022, I

served notice and copies, via electronic mail on counsel for all parties, of the

United States’ Subpoena to Produce Documents to Orrick Herrington & Sutcliffe

LLP (“Orrick Subpoena”); and (2) subsequently on May 6, 2022, I served the

Orrick Subpoena on counsel for Orrick Herrington & Sutcliffe LLP.

      Respectfully submitted,


                                              /s/ Jasmyn G. Richardson

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